      Case 3:21-cv-04062-EMC           Document 786       Filed 11/04/24      Page 1 of 2




                                  OFFICE OF THE CLERK
                              UNITED STATES DISTRICT COURT
                                 Northern District of California

                                       CIVIL MINUTES

Date: November 4, 2024           Time: 8:39 AM -9:29       Judge: EDWARD M. CHEN
                                       9:30-10:54 Motion Hearing
                                       10:55 – 11:29 Break
                                       11:30-11:56
                                       2 Hours, 50 minutes

Case No.: 21-cv-04062-EMC            Case Name: Guardant Health, Inc. v. Natura, Inc.

Attorneys for Plaintiff: Saul Perloff, Chase Scolnick, Christopher LaVigne, Jennifer Keller
Attorneys for Defendant: Kevin Johnson, Andrew Bramhall, Victoria Maroulis, Margaret Shyr,
Derek Shaffer

Deputy Clerk: Vicky Ayala                           Court Reporter:

                       PROCEEDINGS HELD BY ZOOM WEBINAR

Emergency MOTION for Lesser Sanctions, Docket No. 749– Held.
Final Pretrial Conference to review Jury Questionnaires – Held.

                                 SUMMARY/MINUTE ORDER
Parties stated appearances.

Juror Questionnaires

       The Court and the Parties went through the juror questionnaires to determine excusals for
hardship. The updated juror list has been sent to the jury administrator. Also the parties agreed
the Court should give the general instruction on the elements of the Lanham Act in the
preliminary instructions to the jury.

Natera’s Emergency Motion for Lesser Sanctions

      The Court heard argument regarding Natera’s Emergency Motion for Lesser Sanctions.
The Court ruled as follows:
   1. Evidence obtained through COBRA discovery (TX-1667) where Guardant stated the
      intended clinical specificity of Reveal has always been 95% is admissible solely for the
      purpose of impeachment (in the event Guardant denies such).
   2. Evidence obtained through COBRA discovery (TX-1663; TX-1636) regarding
      Guardant’s update to the Reveal CHIP filter is admissible given the Court has found
      “there remains a genuine dispute of material as to whether Guardant’s CHIP filter existed
      Case 3:21-cv-04062-EMC            Document 786        Filed 11/04/24      Page 2 of 2




       and how well it worked,” Dkt. No. 326 at 26 (MSJ Order), and changes to the CHIP filter
       may be relevant.

       Insofar as certain evidence obtained through COBRA discovery is allowed in, the Parties
were directed to meet and confer regarding the proper redactions to the documents to eliminate
any mention of the COBRA trial. Natera’s Counsel stated on the record that Natera no longer
disputed the exclusion of Dr. Hochster’s supplemental report or the exclusion of COBRA.

Dr. Andersen Deposition Testimony

         The Court heard argument regarding Natera’s Objections to the Dr. Andersen Deposition.
The Court ruled that it will not exclude the deposition testimony on any procedural grounds
given the reliability of the video tape with the only issue pertaining to accuracy of the English
translation. See F.R.E. 28(b)(4) (“Letter of Request—Admitting Evidence. Evidence obtained in
response to a letter of request need not be excluded merely because it is not a verbatim transcript,
because the testimony was not taken under oath, or because of any similar departure from the
requirements for depositions taken within the United States.”). The Court noted that this is the
actual videotape of a witness, a certified translator offered a live translation from Danish to
English, to which a US Certified Court Reporter then created a “verbatim transcript.” Dkt. No.
765 at 6. The transcript is both English, and the audio of the video is, of course, also available to
all parties. The Court further notes that Dr. Anderson is fluent in English, and that this
deposition went forward in Danish solely per Natera’s request. The video tape is the best first-
hand evidence of Dr. Anderson’s testimony.
         Should Natera have issues with Guardant’s translator’s Danish to English translation of
the testimony, the Parties were ordered to meet and confer to resolve any of those disputes. For
any unresolved disputes to Dr. Andersen’s testimony in Guardant’s opening slides, the Parties
are to submit the competing translations with the Court by 6PM today (11/4).
         The Court further holds that Guardant is allowed to offer Dr. Andersen’s testimony on
the grounds that it shows Natera’s state of mind in offering the advertisements in dispute, is
relevant to the “apples to oranges” comparison of the Parikh and Reinart study, and is relevant to
affirmatively rebut Natera’s challenges to the Parikh study.

Other Matters
   • Guardant stated it would notify Natera by the end of the day should Guardant decide to
      drop the CHIP filter claim. (The Court notes, that Guardant has agreed to withdraw its
      claim against Natera based on Natera’s statements about the CHIP filter.)
   • Guardant shall disclose their first witness to Natera ASAP, as it is likely there will be
      time for a witness following the Parties’ opening statements.
